Case: 1:17-cv-04412 Document #: 8-12 Filed: 06/20/17 Page 1 of 8 PageID #:306




                   EXHIBIT K
Beware of FuturesProfile | Elite Trader
                       Case: 1:17-cv-04412 Document #: 8-12 Filed: 06/20/17 Page 2 of 8 PageID #:307
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      ET NEWS & SPONSOR
      INFO
                                               Beware of FuturesProfile                                                      Print
        Announcements                          Discussion in 'Prop Firms' started by TheNotSoGreatGatsby, Oct
        Events                                 19, 2015.

      GENERAL TOPICS

        Trading
        Journals
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        Economics

      TRADING INSTRUMENTS
                                               .




        Stocks
        Options
                                                       TheNotSoGreatGatsby                                            72         26
                                                                                                                     Posts      Likes
        ETFs
        Index Futures
                                                        I've recently heard of FuturesProfile and would warn you guys
        Commodity Futures
                                                        about the owner's shady activity.
        Financial Futures
        Forex                                           It seems to be a competitor to TopStepTrader in that you pass a
        Cryptocurrencies                                "combine" to receive a funded account. With FuturesProfile, you
                                                        submit a 5 day demo "for filtration purposes" and then you trade
      TECHNICAL TOPICS
                                                        demo for 20 days and if you pass, then you become a funded
        Order Execution                                 trader. There's really no information on the company so I
        Automated Trading                               decided to do some research.
        Technical Analysis
        Programming                                     What I found was an EliteTrader account that belongs to the
        Strategy Development
                                                        owner of the website, and he seems very shady.
        Risk Management
                                                        First off, FuturesProfile has absolutely no affiliation with MES
        Psychology
                                                        Capital Ltd. that it shows in the picture. At least not the US
      BROKERAGE FIRMS                                   based firm. The website is registered in Kuwait, as is the
                                                        business name probably trying to copy the US firm.
        Retail Brokers
        Prop Firms                                      The guy who owns the website is Sattam Alsabah. You can
        Forex Brokers                                   contact him at sattam@miseel.com

      TOOLS OF THE TRADE
                                                        You can also Google his name and will find his EliteTrader


https://www.elitetrader.com/et/threads/beware-of-futuresprofile.295201/[6/19/2017 1:14:27 PM]
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        Trading Software                   account.
        Data Sets and Feeds
        Backup and Security                             http://www.elitetrader.com/et/index.php?
        Hardware
                                                        members/sattam.489048/
        Educational Resources
                                                        His activity is nothing but shady shilling of his own company,
      TRADING FOR A LIVING                              instead of making a legitimate thread advertising it.

        Professional Trading
                                                        Here's his LinkedIn profile, claiming to be VP at BGTC, a trading
        Taxes and Accounting                            and contracting company of oil and other energies in Kuwait.
      COMMUNITY LOUNGE
                                                        I've emailed them asking to confirm Sattam Alsabah's identity,
                                                        but got no response.
        Chit Chat
        Politics                                        https://kw.linkedin.com/pub/sattam-alsabah/59/41a/433
        Religion and Spirituality
        Science and Technology                          Just thought I should raise awareness on this fraudster since
        Philosophy and Rationality                      nobody knows much about it.
        Luxury and Lifestyle                            #1 Oct 19, 2015                                               Share

        Health and Fitness                                  VPhantom and Saber like this.
        Hook Up
        Classifieds
                                                       Saber                                                        64         18
      SITE SUPPORT                                                                                                 Posts      Likes

        Feedback
                                                        Do you have experience with him?
                                                        Did you do a demo with them and what was the outcome?

                                                        If this is true then he has a thread here:
                                                        http://www.elitetrader.com/et/index.php?threads/remote-
                                                        prop-firms-and-trading-capital.294019/

                                                        I have even pointed this out as a great opportunity for new
                                                        traders without capital.
                                                        What I do not understand is, he is not asking money so a scam I
                                                        do not think it is or maybe he will ask for money at the end of the
                                                        demo like deposite 3k and get 25k buying power and then just
                                                        keep the 3k for himself.

                                                        I hope that there will be more feedback on this subject.
                                                        #2 Oct 19, 2015                                               Share



                                                       TheNotSoGreatGatsby                                          72         26
                                                                                                                   Posts      Likes


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                                                                        Saber said:
                                                                      Do you have experience with him?
                                                              Did you do a demo with them and what was the outcome?

                                                              If this is true then he has a thread here:
                                                              http://www.elitetrader.com/et/index.php?threads/remote-prop-firms-
                                                              and-trading-capital.294019/

                                                                                                More...


                                                        That's the point. He's shilling his own company. He's pretending
                                                        he doesn't own the website and his spreading it around. Huge
                                                        red flag to scammer.
                                                        #3 Oct 19, 2015                                                      Share



                                                       DonCorleone                                                       1,383        7
                                                                                                                         Posts       Likes



                                                        You will also find that Sattam started a thread on ET stating that
                                                        he's been losing his shirt in the market:
                                                        http://www.elitetrader.com/et/index.php?threads/looking-for-
                                                        futures-trading-mentor.292836/

                                                        He admits that he's been losing his shirt:
                                                        http://www.elitetrader.com/et/index.php?threads/looking-for-
                                                        futures-trading-mentor.292836/page-2

                                                        And that he's willing to give $25k to someone to recover his
                                                        trading losses: http://www.elitetrader.com/et/index.php?
                                                        threads/looking-for-futures-trading-mentor.292836/page-4

                                                        Then a couple months later he claims he found this website:
                                                        http://www.elitetrader.com/et/index.php?threads/remote-
                                                        prop-frim-referal.293589/page-2#post-4172693

                                                        Which just happens to be a day after the website is registered:
                                                        http://webstackray.com/www/futuresprofile.com

                                                        In the meantime, over at big mike's he's busted:
                                                        https://futures.io/vendors-product-reviews/36887-
                                                        futuresprofile-owner-lies-about-his-identity.html


https://www.elitetrader.com/et/threads/beware-of-futuresprofile.295201/[6/19/2017 1:14:27 PM]
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                                                        There is a company named MES Capital LTD, but that company
                                                        is nowhere a blue chip. http://www.daytraderjobs.com/ (6th
                                                        company from the top of the list currently).

                                                        The phone number listed is attached to Tysons Market LLC
                                                        which is categorized under Grocery Stores
                                                        (http://www.manta.com/c/mb40gz1/tysons-market-llc) and
                                                        belongs to a person named Serif Sisman
                                                        (https://www.linkedin.com/in/sasisman). I don't know if he's
                                                        linked to Sattam but his background does not really ooze trading
                                                        experience.

                                                        Notice that both Sattam's and Serif's linkedin accounts show
                                                        that both attended American Univ around same time. So who
                                                        knows. They might be one and the same person or two
                                                        classmates that are in it together.

                                                        Good luck.
                                                        #4 Oct 20, 2015                                                      Share

                                                            VPhantom, Load_the_boat, i960 and 1 other person like this.




                                                       trader99                                                           992         40
                                                                                                                          Posts      Likes



                                                        Hmm.. Maybe what you are saying is true. But as far as the
                                                        website is concerned, I don't see anything scammy.

                                                        This is the latest iteration of their website:

                                                        http://www.mescapitalgroup.com/

                                                        Has anyone tried them out? No capital contribution. Sounds fair
                                                        enough. What I'm more curious is has anyone gotten an account
                                                        bigger than $25K? $25K account is not that impressive. A $1M
                                                        account yes if you are good enough to manage that.
                                                        #5 Nov 16, 2015                                                      Share



                                                       RDK91                                                               77         42
                                                                                                                          Posts      Likes



                                                        Also wondering if anyone has experience with these guys?


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                                             I will start a demo there in January, after the holidays.
                                                        #6 Dec 9, 2015                                                              Share



                                                       BigD                                                                        2         0
                                                                                                                              Posts         Likes



                                                                        Ruben De Kock said:
                                                                        Also wondering if anyone has experience with these guys?
                                                              I will start a demo there in January, after the holidays.


                                                        I just finished a demo with them. There was nothing shady about
                                                        it. It's through VankarTrading.com - a brokerage in Chicago.
                                                        They provide you with a Rithmic Paper trading account and you
                                                        get 20 days to try. Go for it, you've got nothing to lose.
                                                        #7 Dec 16, 2015                                                             Share



                                                       RDK91                                                                       77        42
                                                                                                                              Posts         Likes



                                                                        BigD said:
                                                                       I just finished a demo with them. There was nothing shady
                                                              about it. It's through VankarTrading.com - a brokerage in Chicago. They
                                                              provide you with a Rithmic Paper trading account and you get 20 days
                                                              to try. Go for it, you've got nothing to lose.


                                                        I will start a demo with them in January, due to the holidays.
                                                        Did you get funded?
                                                        #8 Dec 16, 2015                                                             Share



                                                       BigD                                                                        2         0
                                                                                                                              Posts         Likes



                                                        Unfortunately, with the slow holiday chop I did not. I did
                                                        correspond with them thru email afterwards to thank them for
                                                        the opportunity and their reply was:
                                                        ---------------------------------------------------------
                                                        "Thank you for the email.

                                                        It means a lot to us at MES. We are trying to do the right thing
                                                        here. Again we strongly believe in a fair and free chance to get
                                                        funded. With traders like yourself we believe we can grow MES.


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                                                        Built By Traders For Traders - remember that. We were all like
                                                        you and we keep learning. We as you know are not in
                                                        competition with any business out there because we are not a
                                                        business. A business takes money, we on the other hand are
                                                        FREE!"
                                                        ---------------------------------------------------------

                                                        I will try again in 3 months. Good luck to you.
                                                        #9 Dec 16, 2015                                                                Share



                                                       trader99                                                                   992           40
                                                                                                                                 Posts         Likes



                                                                        BigD said:
                                                                        Unfortunately, with the slow holiday chop I did not. I did
                                                              correspond with them thru email afterwards to thank them for the
                                                              opportunity and their reply was:
                                                              ---------------------------------------------------------
                                                              "Thank you for the email.

                                                              It means a lot to us at MES. We are trying to do the right thing here.
                                                                                                 More...


                                                        Interesting. If you don't mind what was your net P&L during the
                                                        trial? Is there a cutoff? Like you have to make $10K+ or
                                                        whatever to be considered during the 20 days trial period?

                                                        I'm curious.

                                                        Thanks,

                                                        trader99
                                                        #10 Feb 15, 2016                                                               Share



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